         Case 6:05-cv-00043-BAE Document 32 Filed 01/24/06 Page 1 of 20
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                                                                               i;STF'G T COURT
                                                                            SA   '   i DI V.
                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF GEORGIA ,
                             STATESBORO DIVISION

LYNETTE TANKERSLEY EDEN ,

       Plaintiff,

vs.                                           Case No. CV605-043

CITIFINANCIAL AUTO, LTD . ,

       Defend ant.

                    DEFENDANT CITIFINANCIAL AUTO, LTD.'S
                      MOTION FOR SUMMARY JUDGMENT,
                STATEMENT OF MATERIAL FACT S
      AS TO WHICH THERE IS NO GENUINE ISSUE TO BE TRIED,
                 AND RESPONSE TO PLAINTIFF'S
          STATEMENT OF UNDISPUTED MATERIAL FACT S

      Pursuant to Fed . R. Civ . P. 56 and L .R . 56.1, Defendant CitiFinancial Auto,

Ltd . ("CitiFinancial") moves the Court for summary judgment in its favor as to

each of the claims asserted in Plaintiff's Complaint and as to CitiFinancial's

counterclaim against Plaintiff .

      This motion is supported by the pleadings, the transcripts of the depositions

of Plaintiff and her son, Ramsey Eden, the affidavit of Thomas Jacobs,

CitiFinancial's statement of material facts as to which there is no genuine issue to

be tried annexed hereto, and the accompanying memorandum of law .
         Case 6:05-cv-00043-BAE Document 32 Filed 01/24/06 Page 2 of 20



     CITIFINANCIAL'S STATEMENT OF FACTS MATERIAL FACTS
      AS TO WHICH THERE IS NO GENUINE ISSUE TO BE TRIED

       1 . Plaintiff Lynette Tankersley Eden and her son, Ramsey Eden, co-

signed a loan to purchase a Toyota Corolla on March 7, 2002 . [Transcript of the

deposition of Lynette T . Eden ("L . Eden Dep ."), p. 35, 37-38 and Ex . 1 ; transcript

of the deposition of Ramsey Eden ("R . Eden Dep."), pp. 27-29 and Ex . 1 ; Affidavit

of Thomas Jacobs ("Jacobs Aff."), 13 and Ex . A; Complaint, 181

       2 . CitiFinancial, at that time known as "Arcadia Financial, Ltd .,"

purchased the loan and security interest . [Jacobs Aff., 3 and Ex. B ; Complaint, 9[

91

       3 . The Retail Installment Contract and Security Agreement signed b y

both Plaintiff and Ramsey Eden, specifically provides tha t

      D. [CitiFinancial] may immediately take possession of the
      Property by legal process or self-help, but in doing so we may not
      breach the peace or unlawfully enter onto your premises . We may
      then sell the Property and apply what we receive as provided by law
      to our reasonable expenses and then toward your obligations .

      E . Except when prohibited by law, we may sue you for additional
      amounts if the proceeds of a sale do not pay all of the amounts you
      owe us .

[Jacobs Aff., Ex. B at Remedies ¶(J[ D, E]

      4 . Both Plaintiff and Ramsey Eden understood that CitiFinancial had the

right to repossess the car and sue for the deficiency balance if payments were not

timely made on the loan . [R. Eden, Dep ., p. 37 and Ex. 3 ; L. Eden Dep., p . 61 ]

                                          -2-
         Case 6:05-cv-00043-BAE Document 32 Filed 01/24/06 Page 3 of 20



       5 . Plaintiff and her son subsequently defaulted on the loan . [R. Eden

Dep., pp . 37-39 ; Jacobs Aff., 1 5]

       6. On July 15, 2003, CitiFinancial sent letters to Plaintiff and her son

notifying them that the account was in default and that CitiFinancial was going to

exercise its rights, including the right to repossess the car . [Jacobs Aff., 15 and

Exs .CandD ]

       7 . The default was not cured . [Jacobs Aff., 16]

       8 . Therefore, on December 3, 2003, the car was repossessed . [R . Eden

Dep ., p. 40-41 ; Jacobs Aff.,16] Ramsey Eden, who had possession of the car,

voluntarily surrendered the car to the repossession company . [R. Eden Dep., p. 41 ;

Jacobs Aff., 9[6]

              The next day, December 4, 2003 , in compliance with O .C.G.A. §§ 11-

9-611 and 10- 1-36, CitiFinancial sent to Plaintiff and her son by certified mail

letters notifying them that CitiFinancial had the car (which, of course , Ramsey

Eden already knew) , that CitiFinancial planned to sell the car at a private sale, the

date of the proposed s ale, that they had a ri ght to request a public sale, that

CitiFinancial might seek from them the deficiency after the sale, and that they had

a right to redeem the car prior to the sale . [Jacobs Aff., 9[7 and Exs . E and F]

       10. The December 4, 2003 letters are based on the form provided in

O.C.G.A. § 11-9-614.


                                           -3-
               Case 6:05-cv-00043-BAE Document 32 Filed 01/24/06 Page 4 of 20



           11 . Neither Plaintiff nor her son attempted to redeem the automobile . [R .

Eden Dep., 46 ; Jacobs Aff., 18]

           12 . Therefore, on March 11, 2004, the car was sold at auction . [Jacobs

Aff.,18]

           13 . On March 17, 2004, CitiFinancial sent letters to Plaintiff and her son

informing them that the repossessed automobile had been sold, that the deficiency

amount was $6,887 .94, and that CitiFinancial may pursue a deficiency claim

against them. [Jacobs Aff.,18 and Exs . G and H ]


                            CITIFINANCIAL' S RESPONSE T O
      PLAINTIFF'S STATEMENT OF UNDISPUTED MATERIAL FACT S

           1 . Denied as stated . See CitiFinancial's Statement of Material Facts As

To Which There Is No Genuine Issue To Be Tried ("CitiFinancial's Statement") ,

¶'J[ 1 , 2 .

          2.       Denied . The contract lists the cash price as $12,770 .63 .

          3.       Calls for a legal conclusion . Except as stated, denied .

          4.       Admitted .

          5.      Denied . See CitiFinancial's Statement, ¶(J[ 9, 10 .

          6.      Denied . See CitiFinancial's Statement, 113.

          7.      Admitted.
       Case 6:05-cv-00043-BAE Document 32 Filed 01/24/06 Page 5 of 20




                 rA
     This o2`~    day of January, 2006 .




                                           A. William Loeffl e
                                           Georgia Bar No . 75569
                                           Bryony H. Bowers
                                           Georgia Bar No . 07039 3
TROUTMAN SANDERS LLP
5200 Bank of Ame rica Plaza
600 Peachtree Street, N.E.
Atlanta, Georgia 30308-2216
(404) 885-3000                             Counsel for Defendant
(404) 885-3900                             CitiFinancial Auto, Ltd.
        Case 6:05-cv-00043-BAE Document 32 Filed 01/24/06 Page 6 of 20



                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF GEORGIA ,
                             STATESBORO DIVISIO N

LYNETTE TANKERSLEY EDEN ,

       Plaintiff,

vs .                                            Case No . CV605-043

CITIFINANCIAL AUTO, LTD .,

       Defendant .

                        AFFIDAVIT OF THOMAS JACOB S


       Personally appeared before the undersigned officer , duly authorized to

administer oaths , Thomas Jacobs, who states under oath as follows :



       My name is Thomas Jacobs . I am over the age of twenty-one (21) years old

and am competent to make this Affidavit . The statements set fo rth in this affidavit

are based upon my personal knowledge and upon my review of documents ,

records , and data compilations made and kept in the regular course of the business

activities of CitiFinancial Auto, Ltd. ("CitiFinancial "), including the documents

attached to this Affidavit. It is and has been the regular practice of CitiFinancial to

make such documents , records, and data compilations at the time of the act(s),

event (s), or transaction (s) recorded therein , or within a reasonable time thereafter .

I am familiar with the practices of CitiFinancial regarding the making and
          Case 6:05-cv-00043-BAE Document 32 Filed 01/24/06 Page 7 of 20



maintaining of such documents , records, and data compilations .

                                           2.

        1 am Senior Operations Manager . I am, and have been at all times,

responsible for Remarketing Operations .

                                           3.

        According to CitiFinancial's business records, Plaintiff Lynette Tankersle y

Eden and her son, Ramsey Eden, co-signed a loan to purchase a Toyota Corolla on

March 7, 2002 . (A copy of the Retail Purchase Contract is attached hereto as Ex .

A) CitiFinancial, at that time known as "Arcadia Financial, Ltd .," purchased the

loan and security interest . (A copy of the Retail Installment Contract and Security

Agreement evidencing the assignment to Arcadia Financial, Ltd, is attached hereto

as Ex. B)

                                           4.

         The Retail Installment Contract and Security Agreement signed by bot h

Plaintiff and Ramsey Eden, specifically provides tha t

         D . [CitiFinanciall may immediately take possession of the
         Property by legal process or self-help, but in doing so we may not
         breach the peace or unlawfully enter onto your premises . We may
         then sell the Property and apply what we receive as provided by law
         to our reasonable expenses and then toward your obligations .

         E. Except when prohibited by law, we may sue you for additional
         amounts if the proceeds of a sale do not pay all of the amounts you
         owe us .



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          Case 6:05-cv-00043-BAE Document 32 Filed 01/24/06 Page 8 of 20




See Ex . B at Remedies ¶¶ D, E .

                                           5.

        Plaintiff and her son subsequently defaulted on the loan . On July 15, 2003 ,

CitiFinancial sent letters to Plaintiff and Ramsey Eden notifying them that the

account was in default and that CitiFinancial was going to exercise its rights,

including the right to repossess the car . (Copies of these letters are attached hereto

as Exs . C and D)



        The default was not cured . Therefore, on December 3, 2003, the car was

repossessed . Ramsey Eden, who had possession of the car, voluntarily surrendered

the car to the repossession company .

                                            7.

        The next day , December 4, 2003 , in compliance with O .C .G.A . §§ 11-9-61 1

and 10-1-36, CitiFinancial sent to Plaintiff and Ramsey Eden via Certified Mail, at

their last known addresses , letters notifying them that CitiFinancial had the car,

that CitiFinancial planned to sell the car at a private sale, the date of the proposed

sale, that they had a right to request a public sale , that CitiFinancial might seek

from them the deficiency after the sale , and that they had a right to redeem the car

prior to the sale . (Copies of these letters are attached hereto as Exs . E and F )




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          Case 6:05-cv-00043-BAE Document 32 Filed 01/24/06 Page 9 of 20



                                             8.

        Neither Plaintiff nor her son attempted to redeem the automobile . Therefore ,

on March 11, 2004, the car was sold at auction . On March 17, 2004, CitiFinancial

sent letters to Plaintiff and her son informing them that the repossessed automobile

had been sold and that the deficiency amount was $6,887 .94 . (Copies of these

letters are attached hereto as Exs . G and H)

                                             9.

        CitiFinancial has acted in good faith, and without malice, ill-will, or

willfulness, at all times relevant to the matters alleged in Plaintiff's Complaint .

CitiFinancial has not engaged in any willful misconduct, nor has it willfully

violated any applicable statute . In this matter, CitiFinancial was simply pursuing

its rights as a creditor ; it did no act with an intent to injure Plaintiff or anyone else .

                                             10 .

        The amount of the deficiency balance still owing on the loan after

dispossession of the car at public auction is $6,887 .94 .




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         Case 6:05-cv-00043-BAE Document 32 Filed 01/24/06 Page 10 of 20




        Further affiant sayeth naught .




Sworn and subscribed before me
This D d4y of January, 2006 .


Notary Public

My commission expires :
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          Case 6:05-cv-00043-BAE Document 32 Filed 01/24/06 Page 11 of 20




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        Case 6:05-cv-00043-BAE Document 32 Filed 01/24/06 Page 14 of 20

                                        ARCADIA IACIAI I n
    July 15; 2003



    Lynette T Eden                                                                 RE: Account #107136830 1
    Po Box 756
    Brooklet, GA 30415-075 6



    Dear Lynette:

    This is to inform you that your account with Arcadia Financial Ltd ., a/k/a Arcadia Auto Finance Ltd .,
    ("Arcadia") is currently in default. Under the terms and conditions contained wi thin the retail
    installment contract dated March 7, 2002 between you and Arcadia (the `Contract"), we hereby
    demand that all outstanding payments be b rought current no later than July 20, 2003 . The amount
    due as of that date will be $558.38.

    if payment is not received by the due date listed above, we will have no alte rnative but to exercise
    all creditors' remedies legally available to Arcadia to collect the outstanding balance , including, but
    not limited to, repossession of the Toyota Corolla securing the debt. Under the terms of the
    Contract , you will be responsible for all costs associated with the collection of the debt , including .
    but not limited to, late charges , costs of repossession , and reasonable attorneys' fees to the extent
    permitted by law.

    In addition to the outstanding payment(s), the re may be other bases for default under the Contract .
    By not describing such other defaults , or by not asserting such defaults In this letter , Arcadia does
    not waive or app rove of such other defaults in any manner .

    To the extent that Arcadia has allowed deviation f rom the terms of the Contract , please be advised
    that as of the date of this notice , Arcadia hereby demands strict compliance with the terms of the
    Contrail.

    It you have any questions , write or telephone Arcadia immediately at the address or telephone
    number listed below.

    Sincerely,

    ARCADIA FINANCIAL LTD .




                                                                                                                 CM 0003


                 Arcadia financial Ltd. . Forest Park Two, 820 FOREST Point Circle STE A . Charlotte. NC 28273
                                                       Phone {888}350-8081
     Case 6:05-cv-00043-BAE Document 32 Filed 01/24/06 Page 15 of 20

                                    AICAMA FINANCIAL IT]
July 15, 2003



Russell Eden                                                                 RE: Account #107136830 1
294 Mimosa St
Richmond Hill, GA 31324-4040



Dear Russell:

This is to inform you that your account with Arcadia Financial Ltd ., a/k/a Arcadia Auto Finance Ltd„
(`Arcadia") is currently in default. Under the terms and conditions contained within the retail
installment contract dated March 7 , 2002 between you and Arcadia (the 'Contract'), we hereby
demand that all outstanding payments be b rought cur re nt no later than July 20, 2003. The amount
due as of that date will be $558.38.

If payment is not received by the due date listed above, we will have no alternative but to exercise
all creditors' remedies legally available to Arcadia to collect the outstanding balance, including, but
not limited to, repossession of the Toyota Corolla securing the debt . Under the terms of th e
Contract, you will be responsible for all costs associated with the collection of the debt, including,
but not limited to, late charges, costs of repossession, and reasonable attorneys' fees to the extent
permitted by law.

In addition to the outstanding payment(s), there may be other bases for default under the Contract .
By not describing such other defaults , or by not asserting such defaults in this letter, Arcadia does
not waive or app rove of such other defaults in any manner.

To the extent that Arcadia has allowed deviation f rom the terms of the Contract, please be advised
that as of the date of this notice , Arcadia hereby demands s trict compliance with the terms of the
Contract .

If you have any questions , write or telephone Arcadia immediately at the add ress or telephone
number listed below.

Sincerely, .

ARCADIA FINANCIAL LTD.




                                                                                                     CM 0004


               Apia Financial Ltd . . Forest Park Two, 820 FOREST Point Chafe STE A, Chadotte. NC 28273
                                                   Phone (888) 3508061
.e
           Case 6:05-cv-00043-BAE Document 32 Filed 01/24/06 Page 16 of 20
                                                              1
                                        MIMEMMM

                                           ARCADIA FINANCIAL LTD
                                                    December 4, 200 3

                                         NOTICE OF OUR PLAN TO SELL PROPERT Y

      VIA CERTIFIED MAIL
      RETURN RECEIPT REQUESTE D

      Lynette T Eden
      103 Valley Rd Apt 55.
      Statesboro, GA 30458-4763

      Re: Account # 1071368301

      Dear Lynette:

      We have your 1998 TOYOTA COROLLA (VIN 2T1BR12E2WC042388) ( the "Collateral') , because you broke
      promises in our agreement.

      We will sell the Collateral at private sale sometime after December 14,2003 .- A sate could include a lease or
      license.

      NOTICE: You have a right to request that the collateral be sold at public sale . You must notify us of your request
      in writing within ten (10 ) days of posting of this notice. Your request must be sent to us at Arcadia Financial Ltd, '
      Forest Park Two, 820 FOREST Point Circle STE A, Charlotte, NC 28273 by registered mail or certified mail.

      The money that we get from the sale (after paying our costs) will reduce the amount you owe . If we get less money
      than you owe , you may still owe us the difference. if we get more money than you owe, you will get the extra
      money, unless we must pay it to someone else .

     You can get the Collateral back at any time before we sell it by paying us the full amount you owe (not just the past
     due payments), including our expenses . To learn the exact amount you must pay , call us at (888) 350-9061 .

     If you want us to explain to you in writing how we have figured the amount that you owe us, you may call us at (888)
     350-9061 or write us at Arcadia Financial Ltd, Forest Park Two, 820 FOREST Point Circle STE A, Charlotte, NC
     28273 and request a written explanation.

     If you need more information about the sale call us at (888) 350-9061 or write us at Arcadia Financial Ltd, Forest
     Park Two, 820 FOREST Point Circle STE A, Charlotte, NC 28273 .

     We are sending this notice to other people who have an interest in the Collateral or who owe money under your
     agreement.

     Personal property will be removed from the Collateral and stored for a period of thirty (30) days . We will dispose of
     any personal property not claimed within such thirty (30) day period .

     If your personal liability to pay the amount owed on the account has been . discharged in bankruptcy, you will
     not be liable for any deficiency .

     Sincerely
                                                                                                            CM 0005
     ARCADIA FINANCIAL LTD.
             Case 6:05-cv-00043-BAE Document 32 Filed 01/24/06 Page 17 of 20
a'
                                             ARCADIA FINANCIAL LT D
                                                      December 4, 200 3

                                          NOTICE OF OUR PLAN TO SELL PROPERT Y

      VIA CERTIFIED MAIL
      RETURN RECEIPT REQUESTED

      Russell Eden
      123 Tinker Blv d
      Warner Robins , GA 31093-324 1

      Re: Account # 1071368301

      Dear Russell:

      We have your 1998 TOYOTA COROLLA (VIN 2T1BR12E2WC042388) (the"Collateral"), because you broke
      promises in our agreement.

     We wilt sell the Collateral at private sale sometime after December 14, 2003 . A sale could include a lease or .
     license .

     NOTICE: You have a right to request that the collateral be sold at public sale . You must notify us of your request
     in writing within ten ( 10) days of posting of this notice. Your request must be sent to us at Arcadia Financial Ltd,
     Forest Park Two, 820 FOREST Point Circle STE A, Charlotte, NC 28273 by registered mail or cer tified maiL

     The money that we get from the sale (after paying our costs) will reduce the amount you owee . If we get less money
     than you owe, you may still owe us the difference . If we get more money than you owe , you will get the extra
     money, unless we must pay it to someone else .

     You can get the Collateral back at any time before we sell it by paying us the full amount you owe (not just the past
     due payments ), including our expenses . To learn the exact amount you must pay, ca ll us at (888) 350-9061 .

     If you want us to explain to you in writing how we have figured the amount that you owe us, you may call us at (888)
     350-9061 or write us at Arcadia Financial Lid, Forest Park Two, 820 FOREST Point Circle STE A, Charlotte, NC
     28273 and request a written explanation.

     If you need more information about the sale call us at (888) 350-9061 or write us at Arcadia Financial Ltd, Forest
     Park Two, 820 FOREST Point Circle STE A, Charlotte, NC 28273 .

     We are sending this notice to other people who have an interest in the Collateral or who owe money under your
     agreement.

     Personal property will be removed from the Collateral and stored for a period of thirty (30) days . We will dispose of
     any personal property not claimed within such thirty (30) day period .

     If your personal liability to pay the amount owed on the account has been discharged in bankruptcy, you will
     not be liable for any deficiency.

     Sincerely

     ARCADIA FINANCIAL LTD.


                      Arcadia Financial Lid, Forest Park Two . 820 FOREST Point Circle STE A. Charlotte, NC 28273
                                                     Phone (888) 350.9061

                                                                                         CM 0006
                      Case 6:05-cv-00043-BAE Document 32 Filed 01/24/06 Page 18 of 20



                                                                  ARCAHIA FINANCIAL IT11
    Arcadia Financial Ltd .,
    5715 Old Shakopee Road:
    Bloomington, MN 53437                                                                                                                 March 17, 2004

    Lynette T Eden
    103 Valley Rd Apt 55
    Statesboro, GA 304584763

    Re: Account # 107136830 1

    Dear Lynette

    We have sold the collateral securing the payment of the referenced account This letter provides an explanation of the calculation of
    the surplus or deficiency on the account resulting fr om such sale. If the sale resulted in a surplus on your account, the surplus will be
    paid to you unless we are required to pay it to someone else . If the sale resulted in a deficiency on the account, you may be liable for
    the deficiency. The calculation is as follows :

    Aggregate amount of obligations secured by the collateral as of March 10, 2004 .... .... .... . ... ... ... ... . .3 9,785 .61
    (This amount includes a refund of any unearned finance charges)
    Less: amount of proceeds of the dispositi on . ... ... . .. .. . .. . . .. ... . .. .... ...... .. ... .... . .... . .... . .. ...... . .. - $ 3,790.00
    Aggregate debt after deduction of sales proceeds ..... ... . ... ....... . . .. .... . . . ... . . . . ... .. . .. . .... . . . . . . . . . . S 6,085.61 .
    Plus: Amount of expenses, if any, incurred for repossessing, holding, preparing for disposition,
    processing, and disposing of the Collateral and, if allowed by law, attorneys fees ... .... ....... .. . .... +$ 802.33
J   Less : Amount of credits you are known to be entitled to . . ... .. ... . .. . ..... . . . . . . .. ... ... . . .. . . .. .. ... ... . . - $

    Amount of deficiency on the account . . .. . .. . .. . . ... .... ...... ... .. . . .. .. . .. . ... ... .. . .... .... .... ... ... . .. . ....5 6,887.94

    Amount of-surplus on the account . .. . . . ... .. . . . . .          ... . . . . ... .. . .. . ... . .. ... ... .. .. . ......... ... . .. .. .... . ....S   .00

    Future debits , credits, charges , including additi onal credits service charges or interest , rebates , refunds and expenses may affect the
    amount of the surplus or deficiency.

    You may obtain additional information by contacting us at (877) 200-8555 .

    TO THE EXTENT YOUR OBLIGATION TO PAY THE DEFICIENCY ON THE ACCOUNT HAS BEEN DISCHARGEDIN
    BANKRUPTCY, OR IS SUBJECT TO AN AUTOMATIC STAY UNDER TITLE 11 OF THE UNITED STATES CODE, THIS
    EXPLANATION IS BEING SENT TO YOU FOR COMPLIANCE AND INFORMATIONAL PURPOSES ONLY AND DOES
    NOT CONSTITUTE A DEMAND FOR PAYMENT OR AN ATTEMPT TO COLLECT THE DEFICIENCY .

    Except as provided in the'preceding paragraph, this explanation is also an attempt to collect a debt if a deficiency exists on the account
    and all information obtained from you will be used for that purpose .

    Sincerely,



    ARCADIA FINANCIAL LTD .


                                                                                                                                                                    DEt TIDAN7"S
                                                                                                                                                                      EXHIBIT


                                                                                                                                                                        6 .2c1-a5
                                                                                                                                                        CM 0001
                   Case 6:05-cv-00043-BAE Document 32 Filed 01/24/06 Page 19 of 20
                                                                                        AAL
                                                                                       ACCEMM

                                                                ARCADIA FINANCIAL 17 1
 Arcadia Financial Ltd .,
 5715 Old Shakopee Road
 Bloomington , MN 55437                                                                                                      March 17, 2004

 Russell Eden
 123
   . Tinker Blvd
 Warner Robins, GA 31093-324 1

 Re : Account # 107136830 1

Dear Russell

We have sold the collateral securing the payment of the referenced account . This letter provides an explanation of the calculation of
the surplus or deficiency on the account resulting from such sale . If the sale resulted in a surplus on your account, the surplus will be
paid to you unless we are required to pay it to someone else. If the sale resulted in a deficiency on the account, you may be liable for
the deficiency. The calculation is as follows:

Aggregate amount of obligations secured by the collateral as of March 10, 2004 ....... ... . .... . ... .. . .. . . .. 5 9,785.61
(This amount includes a refund of any unea rned finance charges)
Less: amount of proceeds of the disposition .. ... ........ .... .. .. . .. . ... ... . ... ... ... .. . . ........ .... . ... ... .. - S 3,700 .00
Aggregate debt after deduction of sales proceeds . ... ... . ... . .. ... ... ...... . ........ ... . .                        . .. .. S 6,085 .61
Plus : Amount of expenses, if any, incurred for repossessing, holding,, preparing or ~                       .ispos~tio~..
processing, and disposing of the Collateral and, if a llowed by law, attorneys fees .. . .... ... . ... . ... .+S 802 .33
Less: Amount of credits you are known to be entitled to . . ... ... ... .... .. .... . . ... ... . .. ... ......... . . . . ... * . - S

Amount of deficiency on the account .. .. . .. ... ... ... .... . . . ...... .. . .. . ... . .. . ....... ... . ... .... . ....... .. . .. . .5 6,887 .94

Amount of surplus on the account .. .. . ... ....... ... . .. . ... . .. . ... .... ...... . ... .. . ... ...... . ... . .... .... ... .. ...5   .00
Future debits, credits, charges , including additional credits service charges or interest, rebates , refunds and expenses may a ffect the
amount of the surplus or deficiency.

You may obtain additional information by contacting us at ( 877) 200-8555.

TO THE EXTENT YOUR OBLIGATION TO PAY THE DEFICIENCY ON THE ACCOUNT HAS BEEN DISCHARGED IN
BANKRUPTCY, OR I5 SUBJECT TO AN AUTOMATIC STAY UNDER TITLE I i OF THE UNITED STATES CODE, THIS
EXPLANATION IS BEING SENT TO YOU FOR COMPLIANCE AND INFORMATIONAL PURPOSES ONLY AND DOES
NOT CONSTITUTE A DEMAND FOR PAYMENT OR AN ATTEMPT TO COLLECT THE DEFICIENCY .

Except as provided in the preceding paragraph , this explanation is also an attempt to collect a debt if a deficiency exists on the account
and all. information obtained from you will be used for that purpose .

Sincerely,



ARCADIA FINANCIAL LTD.


                                                                                                                                                            DEFENDANTS
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        Case 6:05-cv-00043-BAE Document 32 Filed 01/24/06 Page 20 of 20




                          CERTIFICATE OF SERVIC E

       I have this day served the foregoing upon all parties by depositing a copy in

the United States Mail in a properly addressed envelope with adequate postage

thereon :

             Charles W. Brannon, Jr., Esq.
             103 Valley Road, #31
             Statesboro, Georgia 30458-4759
               ,4
       This day of January, 2006 .
